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EXHIBIT C
Gene Steinberg                                                                  5/9/2022
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  1           A.     Yes.
  2           Q.     Did you vote in the 2020 presidential
  3    election?
  4           A.     I did.
  5           Q.     Did you vote in person, by mail or
  6    something different?
  7           A.     In person.
  8           Q.     Is there any particular reason you voted
  9    in person?
 10           A.     Yes.
 11           Q.     Why is that?
 12           A.     Because after receiving the robocall I was
 13    concerned that the potentially the mail and the
 14    mail-in vote may be tampered with somehow, some way,
 15    and I didn't want to risk that so I opted to vote in
 16    person.
 17           Q.     Just, I want to be clear, you've mentioned
 18    a few times -- you say, robocall.                    When you say,
 19    robocall, are you referring to August 26, 2020
 20    robocall?
 21           A.     Yes.
 22           Q.     Okay.      We will get back to that shortly.
 23    Prior to the November 2020 presidential election had
 24    you voted in-person in any other elections before?
 25           A.     Well, the answer the is yes.

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